 8:15-cr-00217-JFB-TDT       Doc # 51    Filed: 12/23/15   Page 1 of 1 - Page ID # 280




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )            8:15CR217
                    Plaintiff,                  )
                                                )
      vs.                                       )             ORDER
                                                )
HAMOLEQUET ADI QUIROGA,                         )
                                                )
                    Defendant.                  )


      This matter is before the court on the motion of Jessica P. Douglas to withdraw as
counsel for the defendant, Hamolequet Adi Quiroga (Quiroga) (Filing No. 50). For good
cause shown, the motion is granted and substitute counsel will be appointed.
      Brandie M. Fowler, 209 South 19th Street, #440, Omaha, NE 68102, (402) 933-
9886, is appointed to represent Quiroga for the balance of these proceedings pursuant to
the Criminal Justice Act.   Ms. Fowler shall file her appearance in this matter forthwith.
The clerk shall provide a copy of this order to Ms. Fowler and to the Federal Public
Defender.
      Ms. Douglas shall forthwith provide Ms. Fowler with the discovery materials provided
the defendant by the government and such other materials obtained by Ms. Douglas which
are material to Quiroga’s defense.




      IT IS SO ORDERED.
      DATED this 23rd day of December, 2015.


                                                BY THE COURT:
                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
